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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 2:07-cr-0088 KJM CKD P
12                      Respondent,                    No. 2:13-cv-1231 KJM CKD P
13           v.                                        ORDER
14   MARGARITO RAMIREZ CABALLERO,
15                      Movant.
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18           Pursuant to 28 U.S.C. § 455(a), I disqualify myself from participating in this matter. The
19   Clerk of the court shall reassign these cases to another Magistrate Judge for all further
20   proceedings, notify the parties, and make appropriate adjustments in the assignments of civil
21   cases to compensate for such reassignment.
22                  IT IS SO ORDERED.
23   Dated: July 10, 2013
24                                                    _____________________________________
                                                      CAROLYN K. DELANEY
25                                                    UNITED STATES MAGISTRATE JUDGE

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27   caba0088.rec

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